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 HALPERIN BATTAGLIA RAICHT, LLP
 555 Madison Avenue, 9th Floor
 New York, New York 10022
 (212) 765-9100
 (212) 765-0964 Facsimile
 Donna H. Lieberman, Esq.
 Carrie E. Mitchell, Esq.
 COLE, SCHOTZ, MEISEL,
 FORMAN & LEONARD, P.A.
 A Professional Corporation
 Court Plaza North
 25 Main Street, P.O. Box 800
 Hackensack, New Jersey 07602-0800
 (201) 489-3000
 (201) 489-1536 Facsimile
 Ilana Volkov, Esq.
 Co-Counsel for the Class 10 Liquidation Trust
                                      :            UNITED STATES BANKRUPTCY COURT
 In re:
                                      :            FOR THE DISTRICT OF NEW JERSEY
 SHAPES/ARCH HOLDINGS L.L.C., et al., :            HON. GLORIA M. BURNS
              Reorganized Debtors. :               CASE NO. 08-14631(GMB)
                                      :
                                                                      Chapter 11
                                      :
                                      :            NOTICE OF WITHDRAWAL OF THE
                                      :            CLASS 10 LIQUIDATION TRUST’S
                                                   OBJECTION TO A. JEROME GROSSMAN
                                                   CLAIM NO. 598 WITHOUT PREJUDICE

          The Class 10 Liquidation Trust (the “Trust”) of Shapes/Arch Holdings, L.L.C., et al., the

 above-captioned debtors and reorganized debtors, filed a fourth omnibus objection to claims on

 December 11, 2009 (the “Motion”) for an Order reducing, expunging, and/or disallowing certain

 claims (doc. no. 869). The Trust is withdrawing its objection to the A. Jerome Grossman claim

 no. 598, without prejudice.

                                                    HALPERIN BATTAGLIA RAICHT, LLP,

                                                    By: /s/ Donna H. Lieberman
                                                         Donna H. Lieberman, Esq.
                                                         Carrie E. Mitchell, Esq.
                                                    COLE, SCHOTZ, MEISEL,
                                                    FORMAN & LEONARD, P.A.

                                                    By: /s/ Ilana Volkov
                                                         Ilana Volkov, Esq.
 DATED: January 7, 2010                             Co-Counsel for the Class 10 Liquidation Trust
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